                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )        NO. 3:11-00194
                                          )        JUDGE CAMPBELL
MONIQUE SMITH                             )


                                          ORDER


      Pending before the Court is a Motion to Suppress Statement (Docket No. 737) and the

Government’s Response (Docket No. 799).

      The Court held a hearing on the Motion on October 4, 2012. For the reasons stated from

the bench, the Motion is DENIED.

      IT IS SO ORDERED.



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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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